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      Fill in this information to identify the case:

      United States Bankruptcy Court for the:
      Southern                                  District of   New York
                                                              (State)


                                                                                                                                                   Check if this is an
      Case number (If known):                                               Chapter       11                                                       amended filing




 Official Form 201

 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               12/15

 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
 number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


 1.      Debtor’s name                           Stoneway Capital Ltd.


 2.      All other names debtor used             N/A
         in the last 8 years

         Include any assumed names,
         trade names, and doing
         business as names



 3.      Debtor’s federal Employer
         Identification Number (EIN)             N/A


 4.      Debtor’s address                        Principal place of business                                    Mailing address, if different from principal
                                                                                                                place of business

                                                 80 Main Street
                                                 Number            Street                                       Number           Street

                                                 P.O. Box 3200
                                                                                                                P.O. Box


                                                 Road Town, VG1110, British Virgin Islands
                                                 City                            State         ZIP Code         City                       State        ZIP Code

                                                                                                                Location of principal assets, if different from
                                                                                                                principal place of business


                                                 County                                                         Number           Street

                                                                                                                N/A


                                                                                                                City                       State        ZIP Code


 5.      Debtor’s website (URL)                  https://cases.primeclerk.com/stonewaycapital


 6.      Type of debtor                                 Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                        Partnership (excluding LLP)
                                                        Other. Specify:




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 7.     Describe debtor’s business        A. Check one:
                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                 Railroad (as defined in 11 U.S.C. § 101(44))
                                                 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                 None of the above
                                          Activities Related to Real Estate
                                          B. Check all that apply:
                                               Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 § 80a-3)
                                                 Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          2211




 8.     Under which chapter of the        Check one:
        Bankruptcy Code is the debtor
        filing?                                  Chapter 7
                                                 Chapter 9
                                                 Chapter 11. Check all that apply:
                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                         affiliates) are less than $2,490,925 on a consolidated basis (amount subject to adjustment on
                                                         4/01/16 and every 3 years after that).
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a
                                                         small business debtor, attach the most recent balance sheet, statement of operations, cash-
                                                         flow statement, and federal income tax return or if all of these documents do not exist, follow
                                                         the procedure in 11 U.S.C. § 1116(1)(B).
                                                         A plan is being filed with this petition.
                                                       Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                       accordance with 11 U.S.C. § 1126(b).
                                                       The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities
                                                       and Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of
                                                       1934. File the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under
                                                       Chapter 11 (Official Form 201A) with this form.
                                                       The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                  Chapter 12


                                                       The bankruptcy case referred to below was filed in Argentinian court and
                                                       subsequently withdrawn.

 9.     Were prior bankruptcy cases       No
        filed by or against the debtor
        within the last 8 years?          Yes.      District                               When                           Case number
                                                                                                       MM / DD / YYY
        If more than 2 cases, attach a              District                               When                           Case number
        separate list.
                                                                                                       MM / DD / YYY




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 10.    Are any bankruptcy cases            No
        pending or being filed by a
        business partner or an              Yes.        Debtor      See attached Annex A                               Relationship     Affiliate
        affiliate of the debtor?
                                                        District                                                       When             04/07/2021
        List all cases. If more than 1,
        attach a separate list.                                                                                                         MM / DD / YYY

                                                        Case number, if known



 11.    Why is the case filed in this       Check all that apply:
        district?
                                                   Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                   immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                   district.
                                                   A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this
                                                   district.


 12.    Does the debtor own or have                No
        possession of any real                     Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
        property or personal                       needed.
        property that needs
        immediate attention?                       Why does the property need immediate attention? (Check all that apply.)
                                                          It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                          safety.
                                                          What is the hazard?
                                                          It needs to be physically secured or protected from the weather.
                                                          It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).
                                                          Other


                                                   Where is the property?
                                                                                    Number         Street




                                                                                    City                                        State           ZIP Code


                                                   Is the property insured?
                                                          No.
                                                          Yes. Insurance agency


                                                          Contact name


                                                          Phone




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              Statistical and administrative information


 13.    Debtor’s estimation of                Check one:
        available funds*                              Funds will be available for distribution to unsecured creditors.
                                                      After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                                      creditors.


 14.    Estimated number of                           1-49                                1,000-5,000                          25,001-50,000
        creditors**                                   50-99                               5,001-10,000                         50,001-100,000
                                                      100-199                             10,001-25,000                        More than 100,000
                                                      200-999


 15.    Estimated assets**                            $0-$50,000                          $1,000,001-$10 million               $500,000,001-$1 billion
                                                      $50,001-$100,000                    $10,000,001-$50 million              $1,000,000,001-$10 billion
                                                      $100,001-$500,000                   $50,000,001-$100 million             $10,000,000,001-$50 billion
                                                      $500,001-$1 million                 $100,000,001-$500 million            More than $50 billion


 16.    Estimated liabilities**                       $0-$50,000                          $1,000,001-$10 million               $500,000,001-$1 billion
                                                      $50,001-$100,000                    $10,000,001-$50 million              $1,000,000,001-$10 billion
                                                      $100,001-$500,000                   $50,000,001-$100 million             $10,000,000,001-$50 billion
                                                      $500,001-$1 million                 $100,000,001-$500 million            More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
            imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 17.    Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
        authorized representative of          petition.
        debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true
                                              and correct.

                                              I declare under penalty of perjury that the foregoing is true and correct.

                                              Executed on          04/07/2021
                                                                   MM / DD / YYYY

                                          X   /s/ David Mack                                               David Mack
                                              Signature of authorized representative of
                                              debtor                                                       Printed name

                                              Title     Director


* Distribution cannot be known at this time.
**Items 14-16 herein is provided on a consolidated basis.




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 18.    Signature of attorney       X   /s/ Fredric Sosnick                                                                Date   04/07/2021
                                        Signature of attorney for debtor                                                          MM / DD / YYYY

                                        Fredric Sosnick
                                        Printed Name

                                        Shearman & Sterling LLP
                                        Firm name

                                        599 Lexington Ave
                                        Number          Street

                                        New York                                                         NY                 10022
                                        City                                                             State              Zip Code

                                        212-848-8571                                                             fsosnick@shearman.com
                                        Contact phone                                                            Email address

                                        2472488                                                                  NY
                                        Bar number                                                               State




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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                      )
In re:                                                )       Chapter 11
                                                      )
STONEWAY CAPITAL LTD.,                                )       Case No. 21- _____ ( )
                                                      )
                                                      )       Joint Administration Requested
                               Debtor.                )
                                                      )

                                             Annex A

                                    AFFILIATED ENTITIES

               On the date hereof, each of the affiliated entities listed below (including the Debtor

in this chapter 11 case) filed petitions for relief under chapter 11 of title 11 of the United States

Code in this Court. Contemporaneously with the filing of these petitions, these entities filed a

motion requesting the Court jointly administer their chapter 11 cases.

1.       Stoneway Capital Ltd.

2.       Stoneway Capital Corporation

3.       Stoneway Energy International LP

4.       Stoneway Energy LP

5.       Stoneway Capital Group LP

6.       Stoneway Power Generation Inc.
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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                   )
In re:                                             )      Chapter 11
                                                   )
STONEWAY CAPITAL LTD.,                             )      Case No. 21- _____ ( )
                                                   )
                                                   )      Joint Administration Requested
                             Debtor.               )
                                                   )

                       CORPORATE OWNERSHIP STATEMENT

              In accordance with Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, Stoneway Capital Ltd. (the “Debtor”) states as follows:

         •    Stoneway Capital Ltd. is wholly owned by GRM Energy Investment Limited.
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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                    )
In re:                                              )      Chapter 11
                                                    )
STONEWAY CAPITAL LTD.,                              )      Case No. 21- _____ ( )
                                                    )
                                                    )      Joint Administration Requested
                             Debtor.                )
                                                    )


         DECLARATION CONCERNING CORPORATE OWNERSHIP STATEMENT

               I, the undersigned director of Stoneway Capital Ltd., the company named as a

debtor in the above-captioned case, declare under penalty of perjury that I have reviewed the

foregoing Corporate Ownership Statement and that the information contained therein is true and

correct to the best of my knowledge, information, and belief.



Dated: April 7, 2021                 /s/ David Mack
                                            Name: David Mack
                                            Title: Director




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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                  )
In re:                                            )   Chapter 11
                                                  )
STONEWAY CAPITAL LTD.,                            )   Case No. 21- _____ ( )
                                                  )
                                                  )   Joint Administration Requested
                            Debtor.               )
                                                  )

                  LIST OF DEBTOR’S EQUITY SECURITY HOLDERS
                 IN ACCORDANCE WITH BANKRUPTCY RULE 1007



                                   Membership Interests


      Name, Address and Telephone of                      Percentage of Shares
              Equity Holder
 GRM Energy Investment Limited                                   100%
 Quijano Chambers
 PO Box 3159
 Road Town, Tortola, British Virgin Islands




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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                      )
In re:                                                )      Chapter 11
                                                      )
STONEWAY CAPITAL LTD.,                                )      Case No. 21- _____ ( )
                                                      )
                                                      )      Joint Administration Requested
                              Debtor.                 )
                                                      )


         DECLARATION CONCERNING LIST OF DEBTOR’S EQUITY SECURITY
            HOLDERS IN ACCORDANCE WITH BANKRUPTCY RULE 1007

               I, the undersigned director of Stoneway Capital Ltd., the company named as a

debtor in the above-captioned case, declare under penalty of perjury that I have reviewed the

foregoing List of Debtor’s Equity Security Holders and that it is true and correct to the best of

my knowledge, information, and belief.



Dated: April 7, 2021                  /s/ David Mack
                                             Name: David Mack
                                             Title: Director




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                                    STONEWAY CAPITAL LTD.
                                       (THE "COMPANY")


                      WRITTEN RESOLUTIONS OF THE SOLE DIRECTOR
                          OF THE COMPANY DATED APRIL 7, 2021


1.    DIRECTOR'S INTERESTS

1.1   IT IS NOTED that the sole director has disclosed any interest in the matter(s) the subject of these
      resolutions, including as a director, officer, member, employee of the Company (and certain of its
      af f iliates and subsidiaries).

2.    STONEWAY GROUP

2.1   IT IS NOTED that:

      (a)     the Company is the general partner of each of Stoneway Group, L.P. (“SGLP”) a limited
              partnership formed and existing under the laws of the province of New Brunswick, Canada,
              Stoneway Energy, L.P. (“SELP”) and Stoneway Energy International, L.P. (“SEILP”)
              (together, the “Partnerships”), each of the Partnerships being limited partnerships formed
              and existing under the laws of the province of New Brunswick, Canada;

      (b)     SGLP's sole asset is its holding in Stoneway Power Generation Inc., which is in turn sole
              shareholder in Stoneway Capital Corporation;

      (c)     Stoneway Capital Corporation is a limited partner in SELP.

      (d)     the Partnerships' sole assets are their holdings, and benef icial interests in, certain
              operating subsidiaries incorporated and existing under the laws of Argentina, namely,
              Araucaria Energy S.A., SPI Energy S.A., Araucaria Generation S.A. and Araucaria Power
              Generation S.A. (the “Argentine Subsidiaries”); and

      (e)     the Company has been advised by its professional advisors that certain financial creditors
              of the Company, the Partnerships and the Argentine Subsidiaries are ref using to extend
              existing standstill agreements and that there is a risk that they will take enforcement action.

3.    VOLUNTARY PETITION UNDER THE PROVISIONS OF CHAPTER 11 OF THE BANKRUPTCY
      CODE

3.1   IT IS RESOLVED that:

      (a)     in the business judgment of the director, it is desirable and in the best interests of the
              Company, the Partnerships, and their respective creditors, and other parties in interest that
              the Company, along with the Partnerships, and certain other affiliates, f ile or cause to be
              f iled a voluntary petition in the Court seeking relief under the provisions of chapter 11 of
              title 11 of the United States Code (the “Bankruptcy Code”), in which the authority to
              operate as a debtor in possession will be sought (the "Chapter 11 Case");

      (b)     that David Mack, acting for and on behalf of the Company (the “Authorized Person”) be,
              and hereby is, authorized on behalf of the Company to execute and verif y petitions,
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            schedules, lists and other motions, papers or documents to commence the chapter 11
            cases, each such document to be f iled at such time as the Authorized Person shall
            determine and to be in the f orm approved by the Authorized Person, such approval to be
            conclusively evidenced by the execution, verification and filing thereof;

      (c)   that the Authorized Person be, and hereby is, authorized on behalf of the Company and
            the Partnerships to take any and all f urther acts and deeds that he deems necessary or
            proper to obtain relief under chapter 11 of the Bankruptcy Code;

      (d)   that the Authorized Person be, and hereby is, authorized and directed to retain on behalf
            of the Company and the Partnerships (i) the law firm of Shearman & Sterling LLP to render
            legal services to and represent the Company in connection with the chapter 11 f iling and
            any other related matters in connection therewith, on such terms as the Authorized Person
            shall approve and subject to approval of the Court and (ii) such other professionals as the
            Authorized Person deems necessary and appropriate during the course of the chapter 11
            f iling;

      (e)   that the Authorized Person be, and hereby is, authorized to engage and retain all
            assistance by legal counsel, accountants, f inancial advisors, restructuring advisors, and
            other professionals (including, without limitation, those professionals specifically named
            herein) in connection with the Chapter 11 Case, on such terms as such Authorized Person
            deems necessary, appropriate, proper or desirable, with a view to the successful
            prosecution of such case.

4.    GENERAL AUTHORIZATION

4.1   IT IS RESOLVED that:

      (a)   the Company do give, make, sign, execute and deliver all such notes, deeds, agreements,
            letters, notices, certif icates, acknowledgements, instructions, f ee letters and other
            documents (whether of a like nature or not) (the "Ancillary Documents") as may in the
            sole opinion and absolute discretion of any director or any Authorized Person be
            considered necessary or desirable f or the purpose of compliance with any condition
            precedent or the coming into effect of or otherwise giving ef fect to, consummating or
            completing or procuring the performance and completion of all or any of the transactions
            contemplated by or referred to in these resolutions and the Company do all such acts and
            things as might in the opinion and absolute discretion of any director or Authorized Person
            be necessary or desirable for the purposes stated above;

      (b)   the Ancillary Documents be in such f orm as any director or Authorized Person in their
            absolute discretion and opinion approve, the signature of any director or Authorized Person
            on any of the Ancillary Documents being due evidence for all purposes of his approval of
            the terms thereof on behalf of the Company; and

      (c)   the Ancillary Documents, where required to be executed by the Company, be executed by
            the signature thereof of any director or Authorized Person and where required to be sealed,
            by af fixing thereto of the Seal of the Company; and

      (d)   in connection with or to carry out the actions contemplated by the f oregoing resolutions,
            the Authorized Person and any director or officer of the Company be, and such other
            persons as are authorized by any of them be, and each hereby is, authorized, in the name
            and on behalf of the Company, to do such further acts and things as any director or officer
            or such duly authorized other person shall deem necessary or appropriate, including to do
            and perf orm (or cause to be done and perf ormed), in the name and on behalf of the
            Company, all such acts and to sign, make, execute, deliver, issue or f ile (or cause to be


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           signed, made, executed, delivered, issued or f iled) with any person including any
           governmental authority or agency, all such agreements, documents, instruments,
           certif icates, consents or waivers and all amendments to any such agreements, documents,
           instruments, certificates, consents or waivers and to pay, or cause to be paid, all such
           payments, as any of them may deem necessary or advisable in order to carry out the intent
           of the foregoing resolutions, the authority for the doing of any such acts and things and the
           signing, making, execution, delivery, issue and f iling of such of the f oregoing to be
           conclusively evidenced thereby.

                                        signature page follows




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____________________________
____________________________
David Mack
Director
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Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims on a Consolidated Basis and Are Not Insiders1                                                                                             12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.


    Name of creditor and complete      Name, telephone number, and          Nature of the       Indicate if     Amount of unsecured claim
    mailing address, including zip     email address of creditor            claim               claim is        If the claim is fully unsecured, fill in only
    code                               contact                              (for example,       contingent,     unsecured claim amount. If claim is partially
                                                                            trade debts, bank   unliquidated,   secured, fill in total claim amount and deduction
                                                                            loans,              or disputed     for value of collateral or setoff to calculate
                                                                            professional                        unsecured claim.
                                                                             services, and
                                                                            government                          Total claim,     Deduction        Unsecured
                                                                            contracts)                          if partially     for value        claim
                                                                                                                secured          of collateral
                                                                                                                                 or setoff

1    Siemens Energy Inc.              Paula Gonzalez                        Litigation claim    Disputed                                         $22,523,011.39
     4400 Alafaya Trail
     Orlando, FL 32826-2399           Email: paulargonzalez@siemens.com

     Phone: 407-736-7075



2    DF / Mompresa, S.A.U.            Ignacio Rodriguez                     Litigation claim    Disputed                                         $4,480,653.69
     Parque Cientifico Tecnologico
     Ada Byron, 90                    Email:
     33203 Gijon, Asturias (Spain)    direccion.juridica@durofelguera.com

     Phone: +34 985 19 91 16




3    Siemens Energy AB                Peter Hjelm                           Litigation claim    Disputed                                         $1,735,208.39
     Slottsvägen 2-6
     612 83 Finspång, Sweden          Email: peter.hjelm@siemens.com



4    Gramercy Energy Secured       Attn: Tomás Serantes; Marc Zelina        Unsecured Note                                                       $1,116,017.17
     Holdings II LLC                                                        claims
     c/o Gramercy Funds Management Email: tserantes@gramercy.com;
     LLC                           mzelina@gramercy.com
     20 Dayton Avenue
     Greenwich, CT 06830

     Phone: 203-552-1943

5    Simpson Thacher & Bartlett LLP Todd Crider                             Legal services      Disputed                                         $151,489.33
     425 Lexington Avenue
     New York, NY 10017             Email: tcrider@stblaw.com

     Phone: 212-455-2664




1
         The debtors reserve their right to amend or modify this consolidated list of creditors, including to reflect that any of the claims on the list are
         contingent, unliquidated, or disputed. Nothing herein should be construed as an admission of validity of any party’s claim or admission as to the
         amount owed.
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     Name of creditor and complete        Name, telephone number, and         Nature of the       Indicate if     Amount of unsecured claim
     mailing address, including zip       email address of creditor           claim               claim is        If the claim is fully unsecured, fill in only
     code                                 contact                             (for example,       contingent,     unsecured claim amount. If claim is partially
                                                                              trade debts, bank   unliquidated,   secured, fill in total claim amount and deduction
                                                                              loans,              or disputed     for value of collateral or setoff to calculate
                                                                              professional                        unsecured claim.
                                                                               services, and
                                                                              government                          Total claim,     Deduction        Unsecured
                                                                              contracts)                          if partially     for value        claim
                                                                                                                  secured          of collateral
                                                                                                                                   or setoff

6     Gemcorp Fund I Limited            Attn: General Counsel/Operations      Unsecured Note                                                       $122,989.34
      c/o Gemcorp Capital LLP                                                 claim
      1 New Burlington Place            Email: generalcounsel@gemcorp.net
      London, W1S 2HR                   ; ops@gemcorp.net
      United Kingdom



7     Gemcorp Multi Strategy Master     Attn: General Counsel/Operations      Unsecured Note                                                       $47,489.76
      Fund SICAV SCS                                                          claim
      c/o Gemcorp Capital LLP           Email: generalcounsel@gemcorp.net
      1 New Burlington Place            ; ops@gemcorp.net
      London, W1S 2HR
      United Kingdom


8     Araucaria Capital S.A.             Attn: President or General Counsel   Administrative      Disputed                                         $45,790.00
      Av. del Libertador 498, 15th Floor                                      services
      Buenos Aires, Argentina            Email: info@araucariaenergy.com

      Phone: 54-11-5252-0303


9     Sargent & Lundy LLC               Terrence P. Coyne                     Engineering         Disputed                                         $28,000.00
      55 East Monroe Street                                                   services
      Chicago, IL 60603                 Email:
                                        terrence.p.coyne@sargentlundy.com
      Phone: 312-269-9675



10    SS&C Intralinks                   Susie Xiao                            Virtual data room   Disputed                                         $27,310.00
      685 Third Ave, 9th Floor          Email: sxiao@intralinks.com           hosting services
      New York, NY 10017

      Phone: 212-342-7676

11    Vista South America Inc.          Attn: Ariel Wainer                    Travel agent        Disputed                                         $25,000.00
      12405 NE 6th Avenue                                                     services
      North Miami, FL 33161

      Phone: 305-266-3029



12    Maples and Calder BV              Chloe Harris                          Legal services      Disputed                                         $21,308.47
      Sea Meadow House
      PO Box 173                        Email: chloe.harris@maples.com
      Road Town VG1110
      British Virgin Islands

      Phone: 284-852-3000
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     Name of creditor and complete       Name, telephone number, and           Nature of the        Indicate if     Amount of unsecured claim
     mailing address, including zip      email address of creditor             claim                claim is        If the claim is fully unsecured, fill in only
     code                                contact                               (for example,        contingent,     unsecured claim amount. If claim is partially
                                                                               trade debts, bank    unliquidated,   secured, fill in total claim amount and deduction
                                                                               loans,               or disputed     for value of collateral or setoff to calculate
                                                                               professional                         unsecured claim.
                                                                                services, and
                                                                               government                           Total claim,     Deduction        Unsecured
                                                                               contracts)                           if partially     for value        claim
                                                                                                                    secured          of collateral
                                                                                                                                     or setoff

13    Aldebaran Group Ltd.              Attn: Jacques Marie Blehaut            Financial           Disputed                                          $19,719.66
      12 Gough Square, 3rd Floor                                               consultant services
      London, EC4A 3DW
      United Kingdom

      Phone: +44 7392 742245


14    Epiq Corporate Restructuring      Attn: Brad Tuttle, Senior Managing     Consultant           Disputed                                         $19,213.00
      LLC                               Director                               services
      777 Third Avenue, 12th Floor
      New York, NY 10017                Email: btuttle@epiqglobal.com

      Phone: 312-560-6333


15    Baker & McKenzie LLP              Clyde Rankin, III                      Legal services       Disputed                                         $16,618.41
      452 Fifth Avenue
      New York, New York 10018          Email:
                                        clyde.rankin@bakermckenzie.com
      Phone: 212-626-4100


16    WD Capital Markets Inc.           Artur Agivaev                          Financial services   Disputed                                         $11,419.50
      Wildeboer Dellelce Place
      Suite 805                         Email: artur@wdcapital.ca
      365 Bay Street
      Toronto, Ontario M5H 2V1

      Phone: 416-847-6907

17    Cratos Global                     Attn: President or General Counsel     Power project       Disputed                                          $11,411.14
      3225 Shallowford Road, Suite                                             consulting services
      810 Marietta, Georgia 30062

      Phone: 770-691-3120

18    Kekst and Company Inc.         Daniel Yunger                     Media and                    Disputed                                         $9,855.68
      437 Madison Avenue, 37th Floor                                   communication
      New York, NY 10022             Email: daniel.yunger@kekstcnc.com services

      Phone: 212 521 4800


19    Atahualpa USA LLC                 Attn: Carlos Bussolini, Director       Communication        Disputed                                         $8,000.00
      6820 Indian Creek Dr., Unit 2F                                           services
      Miami Beach, FL 33141




20    CT Lien Solutions                 Attn: President or General Counsel     Federal litigation   Disputed                                         $7,535.24
      c/o Wolters Kluwer                                                       search services
      2700 Lake Cook Road               Email:
      Riverwoods, IL 60015              liensolutions.clientsupport@waltersk
                                        luwer.com
      Phone: 800-833-5778
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                                                               Pg 18 of 19


     Name of creditor and complete       Name, telephone number, and         Nature of the       Indicate if     Amount of unsecured claim
     mailing address, including zip      email address of creditor           claim               claim is        If the claim is fully unsecured, fill in only
     code                                contact                             (for example,       contingent,     unsecured claim amount. If claim is partially
                                                                             trade debts, bank   unliquidated,   secured, fill in total claim amount and deduction
                                                                             loans,              or disputed     for value of collateral or setoff to calculate
                                                                             professional                        unsecured claim.
                                                                              services, and
                                                                             government                          Total claim,     Deduction        Unsecured
                                                                             contracts)                          if partially     for value        claim
                                                                                                                 secured          of collateral
                                                                                                                                  or setoff

21    Citrix Systems Inc.               Attn: President or General Counsel   Information         Disputed                                         $1,707.75
      851 W. Cypress Creek Road                                              technology
      Fort Lauderdale, FL 33309                                              services

      Phone: 800-424-8749

22    O’Farrell Inc.                    Attn: Michael Joseph                 Legal services      Disputed                                         $1,340.00
      167 Madison Avenue, Suite 303
      New York, NY 10016
                                        Email: info@ofarrelusa.com
      Phone: 305-468-4614

23    Samuel Knight                Attn: President or General Counsel        Consulting          Disputed                                         $468.00
      City Quadrant, Offices 13-15                                           services
      Waterloo Square              Email: energy@samuel-knight.com
      Newcastle Upon Tyne, NE1 4DP
      United Kingdom

      Phone: +44 (191) 481 3620

24    Broadridge Financial Solutions    Attn: Joseph Naso                                        Disputed                                         $364.00
      51 Mercedes Way
      Edgewood, NY 11717                Email: joseph.naso@broadridge.com

      Phone: 631-254-7422
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Debtor Name Stoneway Capital Ltd.

United States Bankruptcy Court for the Southern District of New York

Case Number (if known) ___________________________


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                               12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the
identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.


             Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
        or another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


        ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

        ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


        ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


        ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


        ☐      Schedule H: Codebtors (Official Form 206H)


        ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


        ☐      Amended Schedule

        ☐ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims on a Consolidated Basis and Are Not
              Insiders (Official Form 204)

        ☐      Other document that requires a declaration _______________


     I declare under penalty of perjury that the foregoing is true and correct.

     Executed on            04/07/2021
                            MM / DD / YYYY

X    /s/ David Mack                                                               David Mack
     Signature of authorized representative of debtor                             Printed name

     Title      Director
